                    Case 18-22407         Doc 20   Filed 11/28/18      Page 1 of 2




                             UNITED STATES BANKRUPTCY COURT
                               OR THE DISTRICT OF MARYLAND
                                      (Greenbelt Division)

In Re:                                                  )
                                                        )
GARYTON COLVARD ECHOLS, III                             )       Case No. 18-22407-LSS
MARGARET ANITA ECHOLS,                                  )       Chapter 7
                                                        )
                         Debtor.                        )

                                DESIGNATION AS ASSET CASE
                           AND REQUEST TO SET CLAIMS BAR DATE

         Steven H. Greenfeld, Trustee, reports that he has reviewed the Schedules and Statements of

the debtor and/or questioned the debtor and believes this case may contain assets administrable for

the benefit of creditors of the estate.

         The Trustee hereby asks the Clerk of the Bankruptcy Court to notify creditors to file Proof of

Claims pursuant to 11 U.S.C. Section 501 and Bankruptcy Rule 3002.

                                                Respectfully submitted,

                                                COHEN BALDINGER & GREENFELD, LLC


Date: November 28, 2018                         By: /s/ Steven H. Greenfeld
                                                        Steven H. Greenfeld
                                                        2600 Tower Oaks Boulevard
                                                        Suite 103
                                                        Rockville, MD 20852
                                                        (301) 881-8300
                                                        Counsel for the Trustee
                 Case 18-22407       Doc 20    Filed 11/28/18     Page 2 of 2




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 28th day of November 2018, I reviewed the Court’s
CM/ECF system and it reports that an electronic copy of the foregoing Designation will be
served electronically via the Court’s CM/ECF system on the following:

                              Kimberly Marshall, Esq.
                                    Counsel for the Debtor

I hereby further certify that on the 28th day of November 2018, a copy of the foregoing
Designation was also mailed, first class mail, postage prepaid to: (NONE)



                                     /s/ Steven H. Greenfeld
                                     Steven H. Greenfeld
